                                                      Notice Recipients
District/Off: 0314−1                             User: admin                       Date Created: 05/15/2020
Case: 1:20−bk−00429−HWV                          Form ID: 318                      Total: 35


Recipients of Notice of Electronic Filing:
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tr          Lawrence V. Young (Trustee)           lyoung@cgalaw.com
aty         Thomas E. Miller          staff@tommillerlawoffice.com
                                                                                                                      TOTAL: 3

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          John Paul Garrett        207 McKinley Avenue           Hanover, PA 17331
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cr          PRA Receivables Management, LLC              PO Box 41021          Norfolk, VA 23541
cr          State Farm Bank         c/o Becket and Lee LLP          PO Box 3001         Malvern, PA 19355−0701
5298497     Ally       Payment Processing Center           P.O. Box 9001951         Louisville, KY 40290−1951
5298498     American Express          P.O. Box 1270          Newark, NJ 07101−1270
5298499     Best Buy Credit Services         P.O. Box 78009         Phoenix, AZ 85062−8009
5298501     CBCS         P.O. Box 2724          Columbus, OH 43216−2724
5298500     Capital One        P.O. Box 71083          Charlotte, NC 28272
5298502     Commercial Acceptance Company              2300 Gettysburg Road         Suite 102       Camp Hill, PA
            17011−7303
5298503     Discover Bank         PO Box 6103          Carol Stream, IL 60197
5298504     Emergency Phys Assoc of PA, Inc           P.O. Box 740021          Cincinnati, OH 45274−0021
5298505     Emergency Phys Assoc of PA, PC            P.O. Box 740021          Cincinnati, OH 45274−0021
5298506     Goodyear Credit Plan         P.O. Box 9001006          Louisville, KY 40290−1006
5298508     HRRG          P.O. Box 5406          Cincinnati, OH 45273−7942
5298507     Holly K. Liska, Tax Collector         207 Third Street       Hanover, PA 17331
5298509     KML Law Group, P.C.            Suite 5000−BNY Independence Center            701 Market Street      Philadelphia, PA
            19106−1532
5298510     Kohls Payment Center          P.O. Box 2983         Milwaukee, WI 53201−2983
5298511     Lowe's/Synchrony Bank           P.O. Box 530914          Atlanta, GA 30353−0914
5298512     Lowes/Synchrony Bank            P.O. Box 530914         Atlanta, GA 30353−0914
5298513     National Recovery Agency           2491 Paxton Street        Harrisburg, PA 17111
5298514     Nationwide Credit, Inc.        P.O. Box 14581          Des Moines, IA 50306−3581
5298515     PNC Mortgage           3232 Newmark Drive           Miamisburg, OH 45342
5325898     Peter T. Ruth        Stock and Leader        221 W. Philadelphia St., Suite E600        York, PA 17401−1740
5298516     State Farm Bank         P.O. Box 23025          Columbus, GA 31902−3025
5298517     State Farm Bank         P.O. Box 2328         Attn.: Financial Cards       Bloomington, IL 61702−2328
5327739     State Farm Bank         c/o Becket and Lee LLP          PO Box 3001         Malvern PA 19355−0701
5298518     StateFarmBank          PO Box 23025          Columbus, GA 31902−3025
5299189     Synchrony Bank          c/o PRA Receivables Management, LLC             PO Box 41021         Norfolk, VA 23541
5298519     Wellspan Health         P.O. Box 645734          Cincinnati, OH 45264−5734
5298520     Weltman, Weinberg & Reis Co., LPA             P.O. Box 93784         Cleveland, OH 44101−5784
5298521     York County Tax Claim Bureau            Administration Center        28 East Market Street      York, PA
            17401−1577
                                                                                                                     TOTAL: 32




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